           2:19-cv-02077-CSB-EIL # 1    Page 1 of 12                                         E-FILED
                                                                  Tuesday, 02 April, 2019 02:02:41 PM
                                                                        Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

EAST CENTRAL ILLINOIS HEALTH &         )
WELFARE FUND, EAST CENTRAL ILLINOIS )
PIPE TRADES PENSION FUND, EAST         )
CENTRAL ILLINOIS PIPE TRADES 401(k)    )
FUND, PLUMBERS & PIPEFITTERS LOCAL     )
UNION 149 JOINT APPRENTICESHIP         )
COMMITTEE – EDUCATION FUND,            )
PLUMBING, HEATING & COOLING            )
CONTRACTORS ASSOCIATION OF CENTRAL )
ILLINOIS – EMPLOYER FUND, PLUMBERS     )
AND SUBSTANCE ABUSE PREVENTION         )
CORPORATION OF EAST CENTRAL ILLINOIS, )
PLUMBERS & PIPEFITTERS LOCAL UNION )
149 MARKET RECOVERY FUND, PLUMBERS )
& PIPEFITTERS LOCAL UNION 149 TRAINING )
FACILITY FUND, PLUMBERS & PIPEFITTERS )
NATIONAL PENSION FUND,                 )
INTERNATIONAL TRAINING FUND, AND       )
UNITED ASSOCIATION OF JOURNEYMEN       )
AND APPRENTICES OF THE PLUMBING AND )
PIPEFITTING INDUSTRY LOCAL UNION 149, )
                                       )
                       Plaintiffs,     )
                                       )
v.                                     )               Case No.
                                       )
CLARK PLUMBING & HEATING               )
CHAMPAIGN, LLC                         )
                                       )
                       Defendant.      )

                                       COMPLAINT

                    Count I: Delinquent Contributions and Report Forms

       NOW COME Plaintiffs, EAST CENTRAL ILLINOIS PIPE TRADES HEALTH &

WELFARE FUND, et al., by and through their attorneys, Cavanagh & O’Hara LLP,

complaining of the Defendant, Clark Plumbing & Heating Champaign, LLC, and allege as

follows:

                                       Page 1 of 12
       2:19-cv-02077-CSB-EIL # 1            Page 2 of 12



      1.      This action is brought and maintained in accordance with the provisions of the

Labor Management Relations Act (LMRA), as amended, 29 U.S.C. §185(a), and the Employee

Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. § 1001 et seq., as amended, in

particular 29 U.S.C. §1145 (Section 515 of ERISA), and is a civil action to recover employer

contributions and other payments owed to the Plaintiffs.

      2.      Federal District Courts have exclusive jurisdiction under ERISA over civil actions

like the present one. (See, 29 U.S.C. §1132).

      3.      Venue is proper in a federal District Court where the breach took place, where a

defendant resides or may be found, or where the plan is administered. (See, §502(e)(2) of

ERISA, 29 U.S.C. §1132(e)(2)).

      4.      Defendant, Clark Plumbing & Heating Champaign, LLC, maintains its principal

place of business in Champaign, Illinois, which is located within the venue of the Urbana

Division of the District Court for the Central District of Illinois.

      5.      The Plaintiff, East Central Illinois Pipe Trades Health & Welfare Fund, is an

employee benefit plan administered pursuant to the terms and provisions of a trust agreement

creating said Fund and is required to be maintained and administered in accordance with the

provisions of the LMRA and ERISA (as amended), 29 U.S.C. §1001 et seq. A copy of the

pertinent provisions of the trust agreement for Plaintiff, East Central Illinois Pipe Trades Health

& Welfare Fund, is attached hereto as Exhibit A and fully incorporated herein and made a part

hereof by this reference.

      6.      The East Central Illinois Pipe Trades Health & Welfare Fund is the collection

agent for the other named Plaintiffs, which are employee benefit funds, labor organizations, and

labor-management committees/funds established pursuant to collective bargaining agreements



                                            Page 2 of 12
       2:19-cv-02077-CSB-EIL # 1           Page 3 of 12



between the United Association of Journeymen and Apprentices of the Plumbing and Pipe

Fitting Industry of the United States and Canada (“Union”) and certain employer associations

whose employees are covered by collective bargaining agreements with the Union.

      7.      Plaintiff, East Central Illinois Pipe Trades Health & Welfare Fund, receives fringe

benefit contributions from numerous employers, and therefore, is a multiemployer plan. (See, 29

U.S.C. §1002).

      8.      The Defendant is an Employer engaged in an industry within the meaning of

ERISA, 29 U.S.C. §1002 (5), (11), (12), and (14).

      9.      Defendant signed the Non-Association Employers Standard Form Contract for

Adoption of Agreement on October 27, 2017, which bound Defendant to the Plumbing and

Pipefitting Industry Commercial Labor Agreement between Employing Plumbing, Heating, and

Cooling Contractors Association of Central Illinois and Plumbers and Pipefitters Local Union

No. 149 of the United Association AFL-CIO for the period of June 1, 2014 through May 31,

2018. The Adoption of Agreement and the Commercial Labor Agreement are attached hereto,

and fully incorporated herein, as Exhibit B and Exhibit C, respectively.

      10.     Defendant signed the Plumbers and Pipefitters National Pension Fund Standard

Form of Participation Agreement on October 27, 2017. The National Pension Fund

Participation Agreement is attached hereto, and fully incorporated herein, as Exhibit D.

      11.     Defendant signed the East Central Illinois Pipe Trades Health & Welfare Fund

Participation Agreement for Bargaining Unit Personnel on October 27, 2017. East Central

Illinois Pipe Trades Health & Welfare Fund Participation Agreement is attached hereto, and

fully incorporated herein, as Exhibit E.




                                           Page 3 of 12
       2:19-cv-02077-CSB-EIL # 1           Page 4 of 12



      12.     Defendant signed the National Service & Maintenance Agreement on December

1, 2017. The National Service & Maintenance Agreement is attached hereto, and fully

incorporated herein, as Exhibit F.

      13.     Defendant signed the Subscription Agreement on June 1, 2018, which bound

Defendant to the Plumbing and Pipefitting Industry Commercial Labor Agreement between

Employing Plumbing, Heating, and Cooling Contractors Association of Central Illinois and

Plumbers and Pipefitters Local Union No. 149 of the United Association AFL-CIO for the

period of June 1, 2018 through May 31, 2023. The Subscription Agreement and the

Commercial Labor Agreement are attached hereto, and fully incorporated herein, as Exhibit G

and Exhibit H, respectively.

      14.     Defendant has not terminated Exhibits B – H (hereinafter collectively referred to

as “Agreements”).

      15.     Defendant performed work covered by the Agreements within Local Union

#149’s jurisdiction.

      16.     Defendant employed individuals who are members of, and represented by, the

Union, and said individuals are participants in Plaintiffs’ employee benefit funds pursuant to the

various Agreements.

      17.     Defendant employed individuals during the period of October 27, 2017 through

current, and Defendant is required to submit to Plaintiffs fringe benefit contributions and other

payments/check-offs as provided for by the Agreements.

      18.     Pursuant to the Employee Retirement Income Security Act of 1974 (U.S.C. 29

§1145), the Defendant is required to make contributions to Plaintiffs in accordance with the

terms and conditions of the Agreements and Plaintiffs’ multiemployer plans. The Collection



                                          Page 4 of 12
         2:19-cv-02077-CSB-EIL # 1          Page 5 of 12



and Audit Policy of the East Central Illinois Pipe Trades Pension Fund and the Plumbers &

Pipefitters Local 149 JAC Education Fund is attached hereto and incorporated herein as

Exhibits I. (See also, Exhibits A – H).

         19.   Defendant breached the Agreements it signed or was otherwise bound to by

failing to properly and timely remit fringe benefit contributions and check-offs to Plaintiffs

during the period of October 27, 2017 through current.

         20.   Specifically, Defendant has failed to remit any fringe benefit contributions and

check-offs for May 2018 as well as the period of July 2018 through current.

         21.   Defendant has also failed to submit all of the required remittance report forms to

Plaintiffs for May 2018 as well as the period of July 2018 through current.

         22.   Defendant’s failure to submit the outstanding report forms makes it impossible for

Plaintiffs to know the full amount of contributions and other amounts currently owed by

Defendant.

         23.   Plaintiffs are, therefore, unable to determine the full amount of contributions due

as a result of Defendant’s omissions, unless Defendant submits the required remittance report

forms.

         24.   Defendant has also underreported fringe benefit contributions and check-offs for

the months of October 2017, December 2017, and January 2018.

         25.   Defendant has also failed to timely remit fringe benefit contributions to Plaintiffs

for the period of January 2018 through April 2018 and the month of June 2018.

         26.   Defendant violated Plaintiffs’ trust agreements by failing to properly and timely

remit fringe benefit contributions to Plaintiffs.




                                           Page 5 of 12
       2:19-cv-02077-CSB-EIL # 1             Page 6 of 12



      27.     Defendant has, without good cause, failed to submit report forms and remit fringe

benefit contributions and check-offs, despite its contractual obligation to do so.

      28.     Pursuant to Exhibit A and 29 U.S.C. §1145, Defendant owes 10% in liquidated

damages and 9% in interest on the delinquent contributions owed the East Central Illinois Pipe

Trades Health & Welfare Fund. (See, Exhibit A).

      29.     Pursuant to Exhibit D and 29 U.S.C. §1145, Defendant owes 10% in liquidated

damages and 12% in interest on the delinquent contributions owed the Plumbers and Pipefitters

National Pension Fund. (See, Exhibit D).

      30.     Pursuant to Exhibit I and 29 U.S.C. §1145, Defendant owes 10% in liquidated

damages and 9% in interest on the delinquent contributions owed the East Central Illinois Pipe

Trades Pension Fund and the Plumbers & Pipefitters Local 149 Joint Apprenticeship Committee

- Education Fund. (See, Exhibit I).

      31.     Pursuant to §1132(g)(2) of ERISA, if judgment is entered in favor of the Plaintiffs

in this matter, the Court shall award Plaintiffs certain relief, including interest, liquidated damages

or double interest, and attorneys’ fees. More specifically, §1132(g)(2) of ERISA provides as

follows:

              (g)     Attorney’s fees and costs; awards in actions involving
                      delinquent contributions

                              *               *               *

                      (2)      In any action under this subchapter by a fiduciary
                      for or on behalf of a plan to enforce section 1145 of this
                      title in which a judgment in favor of the plan is awarded,
                      the court shall award the plan –

                              (A)     the unpaid contributions,

                              (B)     interest on the unpaid contributions,



                                            Page 6 of 12
        2:19-cv-02077-CSB-EIL # 1            Page 7 of 12



                               (C)     an amount equal to the greater of –

                                       (i) interest on the unpaid contributions,
                                       or

                                       (ii)    liquidated damages provided for
                                       under the plan in an amount not in excess of
                                       20 percent (or such higher percentage as
                                       May be permitted under Federal and State
                                       law) of the amount determined by the court
                                       under subparagraph (A),

                               (D)     reasonable attorney’s fees and costs of the
                               action, to be paid by the defendant, and

                               (E)    such other legal or equitable relief as the
                              court deems appropriate.

                       For purposes of this paragraph, interest on unpaid
               contributions shall be determined by using the rate provided under
               the plan, or, if none, the rate prescribed under section 6621 of title
               26.

               (See, §1132(g)(2) of ERISA)

       32.     Pursuant to the exhibits and 29 U.S.C. §1145, Defendant is liable for reasonable

attorneys’ fees, court costs, and all other reasonable expenses incurred by the Plaintiffs in the

collection of the amounts owed.

       WHEREFORE, Plaintiffs pray as follows:

       A.      That judgment be entered in favor of the Plaintiffs and against Defendant, Clark

Plumbing & Heating Champaign, LLC, for all such monies due—including delinquent

contributions, check-offs, liquidated damages, interest, audit costs, and all applicable statutory

remedies, for the time period of October 27, 2017 through current—at the time Judgment is

rendered;

       B.      That Defendant be ordered to immediately submit the outstanding remittance

report forms and to perform all of its contractual obligations to Plaintiffs;

                                            Page 7 of 12
           2:19-cv-02077-CSB-EIL # 1         Page 8 of 12



        C.      That Defendant be decreed to pay Plaintiffs’ reasonable attorney’s fees and costs

as provided by ERISA, 29 U.S.C. §1132(g)(2) and the applicable agreements; and

        D.      That Plaintiffs are awarded, at Defendant’s costs, such further and other relief as

may be available under ERISA, the applicable agreements, or as is otherwise deemed just and

equitable, all at Defendant’s cost.

                               Count II – Compel a Payroll Audit of

        NOW COME Plaintiffs, EAST CENTRAL ILLINOIS PIPE TRADES HEALTH &

WELFARE FUND, et al., by and through their attorneys, Cavanagh & O’Hara LLP,

complaining of the Defendant, Clark Plumbing & Heating Champaign, LLC, and allege as

follows:

        1-18. Plaintiffs reallege and incorporate by reference Paragraphs 1 through 18 of Count

I as if fully stated herein.

        19.     Pursuant to Exhibits A, C, D, H, and J, Plaintiffs are authorized and empowered

to examine the payroll books and records of the Defendant. A copy of the pertinent provisions of

the trust agreement for Plaintiff, East Central Illinois Pipe Trades Pension Fund is attached

hereto as Exhibit J and fully incorporated herein and made a part hereof by this reference.

        20.     Defendant has failed to submit all of the required remittance report forms to

Plaintiffs for May 2018 as well as the period of July 2018 through current.

        21.     Defendant’s failure to submit the outstanding report forms makes it impossible for

Plaintiffs to know the full amount of contributions and other amounts currently owed by

Defendant.




                                            Page 8 of 12
           2:19-cv-02077-CSB-EIL # 1         Page 9 of 12



         22.    Plaintiffs are, therefore, unable to determine the full amount of contributions due

as a result of Defendant’s omissions, unless Defendant submits the required remittance report

forms.

         23.    Defendant owes Plaintiffs fringe benefit contributions and check-offs for the

hours of work performed by its employees under the Agreements for the time period of October

27, 2017 to present that Defendant did not report to Plaintiffs.

         24.    Pursuant to Exhibit A and 29 U.S.C. §1145, Defendant owes 10% in liquidated

damages and 9% in interest on the delinquent contributions owed the East Central Illinois Pipe

Trades Health & Welfare Fund. (See, Exhibit A).

         25.    Pursuant to Exhibit D and 29 U.S.C. §1145, Defendant owes 10% in liquidated

damages and 12% in interest on the delinquent contributions owed the Plumbers and Pipefitters

National Pension Fund. (See, Exhibit D).

         26.    Pursuant to Exhibit I and 29 U.S.C. §1145, Defendant owes 10% in liquidated

damages and 9% in interest on the delinquent contributions owed the East Central Illinois Pipe

Trades Pension Fund and the Plumbers & Pipefitters Local 149 Joint Apprenticeship Committee

- Education Fund. (See, Exhibit I).

         27.    Pursuant to §1132(g)(2) of ERISA, if judgment is entered in favor of the Plaintiffs

in this matter, the Court shall award Plaintiffs certain relief, including interest, liquidated damages

or double interest, and attorneys’ fees. More specifically, §1132(g)(2) of ERISA provides as

follows:

                (g)    Attorney’s fees and costs; awards in actions involving
                delinquent contributions

                                       *               *               *




                                            Page 9 of 12
        2:19-cv-02077-CSB-EIL # 1           Page 10 of 12



                       (2)     In any action under this subchapter by a fiduciary for
                       or on behalf of a plan to enforce section 1145 of this title in
                       which a judgment in favor of the plan is awarded, the court
                       shall award the plan –



                              (A)     the unpaid contributions,

                              (B)     interest on the unpaid contributions,

                              (C)     an amount equal to the greater of –


                                      (i)     interest on the unpaid contributions,
                                      or

                                      (ii)   liquidated damages provided for
                                      under the plan in an amount not in excess of
                                      20 percent (or such higher percentage as may
                                      be permitted under Federal or State law) of
                                      the amount determined by the court under
                                      subparagraph (A),



                              (D)     reasonable attorney’s fees and costs of the
                                      action, to be paid by the defendant, and


                              (E)     such other legal or equitable relief as the
                                      court deems appropriate.



                       For purposes of this paragraph, interest on unpaid
               contributions shall be determined by using the rate provided under
               the plan, or, if none, the rate prescribed under section 6621 of title
               26. (See, §1132(g)(2) of ERISA).

       28.     Pursuant to the exhibits and 29 U.S.C. §1145, Defendant is liable for reasonable

attorneys’ fees, court costs, and all other reasonable expenses, including audit costs, incurred by

the Plaintiffs in the collection of the amounts owed.

                                            Page 10 of 12
        2:19-cv-02077-CSB-EIL # 1           Page 11 of 12



        WHEREFORE, Plaintiffs pray as follows:

        A.      That judgment is entered in favor of Plaintiffs and against Defendant, Clark

Plumbing & Heating Champaign, LLC, for all fringe benefit contributions, check-offs, liquidated

damages, and interest owed to Plaintiffs for the time period of October 27, 2017 through a future

date including without limitation the ending date of any payroll compliance audit, as determined

by a payroll compliance audit or otherwise;

        B.      That Defendant, Clark Plumbing & Heating Champaign, LLC, is ordered to

provide and/or make available to Plaintiffs or their auditor, all of Defendant’s payroll and other

business records for the time period of October 27, 2017 through a future date determined by

Plaintiffs or their auditor;

        C.      That Plaintiffs are granted leave of Court to file supplemental proofs establishing

the judgment sum for contributions determined to be due and owing for the time period of

October 27, 2017 through a future date to be determined by the payroll audit, as well as for the

liquidated damages, interest, audit costs, attorney’s fees and costs to which Plaintiffs are entitled

to pursuant to the applicable agreements and ERISA;

        D.      That Defendant be decreed to pay to the Plaintiffs all such monies determined to

be due and owing to the Plaintiffs at the time Judgment is entered, including without limitation

fringe benefit contributions, check-offs, liquidated damages, interest, and audit costs;

        E.      That Defendant is decreed to pay to the Plaintiffs their reasonable attorneys’ fees

and costs, as provided by ERISA (29 U.S.C. §1132(g)(2));

        F.      That Defendant is decreed to pay all costs attendant to these proceedings;

        G.      That Plaintiffs are awarded, at Defendant’s cost, such further and other relief as

may be available under ERISA, the applicable agreements, or as is otherwise just and equitable.



                                           Page 11 of 12
2:19-cv-02077-CSB-EIL # 1   Page 12 of 12



                                      Respectfully submitted,

                                      EAST CENTRAL ILLINOIS PIPE
                                      TRADES HEALTH & WELFARE FUND,
                                      et al.,
                                      Plaintiffs,

                                      By:    s/ Timothy J. Shrake II
                                             TIMOTHY J. SHRAKE II
                                             CAVANAGH & O’HARA LLP
                                             Attorneys for Plaintiffs
                                             2319 W. Jefferson St.
                                             Springfield, IL 62702
                                             Telephone: (217) 544-1771
                                             Facsimile: (217) 544-9894
                                             timshrake@cavanagh-ohara.com




                            Page 12 of 12
